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OSB #844470
tedtroutman@gmail.com




                    IN THE UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON


In re:                                              Case No. 19-31320-pcm13

MICHAEL KENNAN DAVISON &                            MOTION TO SHORTEN OBJECTION
NOKE DAVISON,                                       PERIOD FROM 21 DAYS TO 10 DAYS

                                  Debtors.



         The above referenced Debtors, by and through their attorney, Ted A. Troutman,

hereby move the Court to shorten the objection period on Debtors’ Motion to Obtain

Credit (local bankruptcy form 541) (“Motion to Obtain”), from 21 days to 10 days. Attached

as Exhibit A is the proposed Motion to Obtain.

         Debtors currently have a loan pending with the SBA for a EIDL loan of $600,000.

         This motion to shorten the objection period to 10 days is needed because debtors

are in dire need of the funds to purchase inventory prior to April 1, 2022. Debtors have an

agreement that will expire after March 31, 2022 unless the inventory is purchased prior to

April 1, 2022.

1|Page Motion to Shorten Objection Period from 21
Days to 10 Days

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                    Case 19-31320-pcm13       Doc 64     Filed 03/07/22
       If the loan is not approved and funded prior to March 30, 2022 Debtors may be out

of business.

                  Dated this 7th day of March, 2022.



                                             Presented By:

                                             /s/ Ted A. Troutman


                                             Ted A. Troutman, OSB#844470
                                             Attorney for Debtors




2|Page Motion to Shorten Objection Period from 21
Days to 10 Days

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                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF OREGON

 In re
 Michael Kennan Davison                   Case No. 19-31320-pcm13
 Noke Davison                               Amended


                                      Notice of Final Hearing on Motion [Check One]
                                           For Use of Cash Collateral
 Debtor(s)                                 To Obtain Credit



YOU ARE NOTIFIED THAT:

1. The undersigned moving party, Michael & Noke Davison                                ,
   filed a Motion  For Use of Cash Collateral     To Obtain Credit (check one). The
   motion is attached and includes the statement required by Local Bankruptcy Form
   (LBF) 541.5, Procedures re: Motions for Use of Cash Collateral or to Obtain Credit.

2. The name and service address of the moving party's attorney (or moving party, if no
   attorney) are: Ted A. Troutman, 5075 SW Griffith Drive, Ste. 220, Beaverton OR 97005


3. A final hearing on the motion, at which testimony will be received if offered and
   admissible, will be held as follows:

   Date: _________________           Time: ____________

   Location:

         Courtroom #_____, _____________________________________________

         Telephone Hearing [See LBF 888, Telephone Hearing Requirements.]

         Call In Number: (888) 684-8852
         Access Code:     5870400 for Judge David W. Hercher (dwh)
                          1238244 for Judge Peter C. McKittrick (pcm)
                          4950985 for Judge Teresa H. Pearson (thp)
                          3388495 for Judge Thomas M. Renn (tmr)

         Video Hearing. To connect, see www.orb.uscourts.gov/video-hearings.


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4. If you wish to object to the motion, you must, within 14 days of the service date shown
   in paragraph 5 below, file with the clerk at 1050 SW 6th Ave. #700, Portland OR 97204
   or 405 E 8th Ave. #2600, Eugene OR 97401: (1) a written response which states the
   facts upon which you will rely, and (2) a certificate showing the response has been
   served on the U.S. Trustee and the attorney or party named in paragraph 2 above.

5. I certify that on                  this notice and the motion were served pursuant to
   Federal Rule of Bankruptcy Procedure (FRBP) 7004 on the debtor(s), any debtor's
   attorney, any trustee, any trustee's attorney, members of any committee appointed
   under 11 U.S.C. § 1102 or elected pursuant to 11 U.S.C. § 705 or its authorized agent
   (or, if no committee in a chapter 11 case, on all creditors listed on the list filed pursuant
   to FRBP 1007(d)), any creditors' committee attorney, the U.S. Trustee, and all entities
   with any interest in the cash collateral subject to this motion, whose names and
   addresses used for service are as follows:




                  /s/ Ted A. Troutman                                           844470
                  Signature of Moving Party or Attorney                                  OSB#

                  1355 SW 84th Ave., Portland OR 97225 (0014) & (8076)
                  (If debtor is movant) Debtor’s Address & Last 4 Digits of Taxpayer ID#




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                    IN THE UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON


In re:                                                  Case No. 19-31320-pcm13

MICHAEL KENNAN DAVISON &                                 MOTION TO OBTAIN CREDIT
NOKE DAVISON,                                            (Expedited Hearing Requested)
                                                         (Shortened Deadline to Object)
                                  Debtors.



         Debtors, Michael & Noke Davison, by and through their attorney, Ted A.

Troutman, hereby moves (this “Motion”) for entry of a Final Order, substantially in the

form attached hereto as Exhibit 1 (the “Final Order”), authorizing the Debtors to obtain

post-petition financing as set forth in the Final Order. In support of their Motion, the

Debtors respectfully state as follows:

                                      INTRODUCTION

         Debtors have had losses from the business in 2020 and 2021 because of the

pandemic. The 2020 & 2021 Profit and Loss Statements are attached hereto as Exhibits 1

and Exhibit 2 and by reference made a part hereof showing a loss in 2020 of $117,812.40

and a loss in 2021 of $53,179.84. Debtors believe and are prepared to testify that if this

Motion is granted it will be able to return to prior profitability.

1|Page Motion to Obtain Credit

                                                                            Troutman Law Firm PC
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        Debtors have been in operation since 1997 and have been a profitable company

during most of that time up until the COVID-19 pandemic. Debtors designs and sells

imported towels and linens mostly to the hotel industry. Debtors are known for their

expertise in this area throughout the United States.

        Debtor, Michael Davison, would testify that there is a tremendous amount of

interest in debtors’ products and design expertise and that the company will be able to return

to profitability.

                                  RELIEF REQUESTED

        Debtors seek entry of an Order, authorizing (inter alia) its entry into a loan with Small

Business Administration (“SBA”) on the approximate terms attached hereto as Exhibit 3 and

by reference made a part hereof. The payment after 24 months will be approximately

$3,103.10 per month

        Under the Order, the Debtors would be authorized to borrow $600,000 from the

SBA secured by all assets of the business. None of the prohibited provisions set forth in

LBF 541.5 are in the standard SBA loan.

                                GROUNDS FOR RELIEF

        The relief sought is supported by section 364 of title 11 of the United States Code

(the “Bankruptcy Code”) and Rule 4001 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”).

        Under Bankruptcy Code §364 and Bankruptcy Rule 4001, the loans may be approved

upon showing that the following factors are present:


2|Page Motion to Obtain Credit

                                                                           Troutman Law Firm PC
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    •   The proposed financing is an exercise of the Debtor’s sound and reasonable business

        judgment;

    •   The financing agreement was negotiated in good faith and at arm’s length and no

        alternative financing is available on equal or better terms;

    •   The financing is necessary, essential, and appropriate for the continued operation of

        the Debtor’s business and/or the preservation of its estate and is in the best interests

        of the estate and its creditors.

See, e.g., In re Farmland Indus., Inc., 294 B.R. 855, 879-81 (Bankr. W.D. Mo. 2003). Here, each

of these three factors is present.

        First, entry into loans is an exercise of the Debtors’ sound and reasonable business

judgment. Courts presume that debtors make financing decisions “on an informed basis, in

good faith, and in the honest belief that the action taken was in the best interest of the

company,” In re Los Angeles Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011), and will

not “second-guess a business decision, so long as corporate management exercised a

minimum level of care in arriving of the decision,” id., 457 B.R. at 313.

        Debtors have attempted to obtain other financing but to no avail. Without this

funding Debtors may be out of business. The loan will not become due until the first 60

months of Debtors Plan is done and will aid Debtors in completing the Plan.

        The agreement was negotiated in good faith and at arm’s length and no alterative

financing is available on equal or better terms. In demonstrating the presence of this factor, a

debtor need only demonstrate that it made a “reasonable effort” to obtain alternative


3|Page Motion to Obtain Credit

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financing. In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990); see also In re

Reading Tube Indus., 72 B.R. 329, 332 (Bankr. E.D. Pa. 1987)(“Given the ’time is of the

essence’ nature of this type of financing, we would not require this or any debtor to contact

a seemingly infinite number of possible lenders.”). Debtors have contacted at least two (2)

banks to inquire about obtaining financing. None have advised Debtor that they were in a

position to lend Debtor any funds.

        Third, the terms of loan is necessary, essential, and appropriate for the continued

operation of the Debtors’ business and/or the preservation of its estate and are in the best

interests of the estate and its creditors. This factor is satisfied where, for example, “[w]ithout

the continued financings, the Debtor would likely be forced into a Chapter 7 or 11

liquidation, to the detriment of all creditors,” Farmland Indus., 294 B.R. at 885, and the

proposed financing “was not principally for the benefit of a pre-petition creditor to the

detriment of other parties in interest,” Ames Dep’t Stores, 115 B.R. at 40.

        Here Debtors will be forced to liquidate if the loan is not approved. Debtors need

the funds to fund inventory. Now that COVID restrictions are being lifted Debtors expect

the travel industry to return to pre-pandemic levels.

        Furthermore, given the foregoing, the Debtors submit that grounds exist to grant the

expedited relief hereby requested on an expedited basis under Bankruptcy Rules 4001, 6003,

and 6004.




4|Page Motion to Obtain Credit

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                                         NOTICE

       Notice of the Debtors’ requested relief has been provided to all parties entitled

thereto under Bankruptcy Rule 2002 as well as to all creditors and special notice

representation.

                                         ORDER

       WHEREFORE, the Debtor respectfully requests that the Court enter the Order and

grant the Debtors such other and further relief as is just and equitable. A proposed Order is

attached as Exhibit 4.



                   Dated this 7th day of March, 2022.



                                              Presented By:

                                              /s/ Ted A. Troutman


                                              Ted A. Troutman, OSB#844470
                                              Attorney for Debtors




5|Page Motion to Obtain Credit

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"Exhibit 3 Page 1 of 1"




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"Exhibit 4 Page 1 of 5"




                               IN THE UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF OREGON


           In re:                                                Case No. 19-31320-pcm13

           MICHAEL KENNAN DAVISON &                               FINAL ORDER AUTHORIZING
           NOKE DAVISON,                                          DEBTORS TO OBTAIN CREDIT

                                           Debtors.


                    This matter came before the Court on the Debtor’s Motion to Obtain Credit. The

           Court having considered the argument of counsel and the Motion and testimony and being

           fully informed the Court finds as follows:

                    A.          On April 12, 2019 (the “Petition Date”), the Debtors filed a voluntary

                         petition in this Court for relief under Bankruptcy Code Chapter 13;




           1|Page Final Order Authorizing Debtors to Obtain Credit

                                                                                      Troutman Law Firm PC
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                B.          The Court has jurisdiction over the Case and the Motion under 28 U.S.C.

                     §§157(b) and 1334, this matter is a core proceeding under 28 U.S.C. §157(b)(2),

                     venue is proper under 28 U.S.C. §1408 and 1409, and the Court has authority to

                     enter this Final Order consistent with Article III of the United States

                     Constitution;

                C.          An immediate and ongoing need exists for the Debtor to obtain post-

                     petition financing in the amount of $600,000 to help them reorganize under

                     Bankruptcy Code Chapter 13, and the Debtors do not otherwise have sufficient

                     funds available to pay its ongoing Plan payments and fund their business;

                D.          The Debtors are unable to obtain unsecured credit under Bankruptcy

                     Code §503 or other post-petition financing in the amount of the proposed SBA

                     loan on terms more favorable than those provided by the SBA;

                E.          Sufficient and adequate notice of the Motion and entry of this Final

                     Order has given under Bankruptcy Code §364 and Federal Rules of Bankruptcy

                     Procedure (the “Bankruptcy Rules”) 2002 and 4001, such that no other or

                     further notice of the Motion or entry of this Final Order is needed;

                F.          The terms of the Loan, as set forth in the attached Exhibit 1 are the

                     standard terms for an SBA EIDL loan. The intent rate will be 3.75%, the loan

                     will be a 30 year loan payable monthly starting in 24 months with monthly

                     payments of approximately $3,103.10 for 336 consecutive months;




           2|Page Final Order Authorizing Debtors to Obtain Credit

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                           Case 19-31320-pcm13           Doc 64     Filed 03/07/22
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                 G.     The terms of the Loan, as set forth in the Loan summary (“Exhibit 1”),

                           are fair and reasonable and reflect the Debtors’ exercise of their prudent business

                           judgment; and

                      H.            Entry of this Final Order is in the best interest of the Debtors estate and

                           its various stakeholders because it will, inter alia, allow the Debtors to reorganize

                           under Bankruptcy Code Chapter 13.

                      WHEREFORE, IT IS HEREBY ORDERED:

                      1.            The execution and delivery of the SBA EIDL Loan Agreement and all

                           other documents by the Debtors are authorized and approved, and the Debtors

                           are authorized and empowered to execute and deliver to the SBA all other

                           documents and instruments necessary or desirable to consummate the

                           transactions contemplated thereby, take all other actions necessary or desirable to

                           carry out the intent and purpose of the SBA Loan Documents, and otherwise

                           comply with the SBA Loan Documents and all requests of the lender thereunder.

                      2.            The Debtors are authorized to borrow up to $600,000 from the SBA.

                      3.            All interest, fees, and expenses contemplated by the Loan Documents are

                           authorized to be incurred by the without application to or further order by the

                           Court.

                      4.            The Lender holds security interests in and liens on all Debtors Collateral,

                           which the Debtors have (to the extent of its right, title, and interest therein)

                           assigned and conveyed as security, hypothecated, mortgaged, pledged, and set

                           over and unto the Lender, and which have been automatically perfected
               3|Page Final Order Authorizing Debtors to Obtain Credit

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                                    Case 19-31320-pcm13         Doc 64     Filed 03/07/22
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                   notwithstanding any notice or recordation requirements of non-bankruptcy law

                          (collectively, the “Liens”).

                                                          ###



               I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).


                                                             Presented By:

               March 7, 2022                                 /s/ Ted A. Troutman
               Date                                          Ted A. Troutman, OSB#844470
                                                             Attorney for Debtors




               4|Page Final Order Authorizing Debtors to Obtain Credit

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                   IN THE UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF OREGON



In re:                                             Case No. 19-31320-dwh13

MICHAEL KENNAN DAVISON &                            CERTIFICATE OF SERVICE
NOKE DAVISON,

                                Debtor(s).



I, Lisette Barajas, Declare as follow:

         I certify that on March 7, 2022, I served, by first class mail, a full and true copy of
the attached Motion to Shorten Objection Period from 21 Days to 10 Days and
Certificate of Service on the following by causing a copy thereof to be placed in a sealed
envelope, postage prepaid, addressed as shown below, in the U.S. Mail at Beaverton, Oregon
on the date indicated below:


                               See Attached “Mailing Matrix”


                                         Dated: March 7, 2022

                                         /s/ Lisette Barajas
                                         Lisette Barajas, Legal Assistant to
                                         Ted A. Troutman




1|Page Certificate of Service
                                                                          Troutman Law Firm PC
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                   Case 19-31320-pcm13           Doc 64     Filed 03/07/22
Washington County Tax Collector           Internal Revenue Service                       KeyBank N.A.
155 N 1st Ave #130                        Centralized Insolvency Solutions               4910 Tiedeman Rd.
Hillsboro, OR 97124                       PO Box 7346                                    Brooklyn, OH 44144
                                          Philadelphia, PA 19101


Discover Bank                             U.S. Bank National Association                 Wells Fargo Bank, N.A.
Discover Products Inc                     Bankruptcy Department                          Small Business Lending Division
PO Box 3025                               PO Box 108                                     P.O. Box 29482
New Albany, OH 43054-3025                 St. Louis MO 63166-0108                        Phoenix AZ 85038-8650


Chase Bank USA, N.A.                      U.S. Bank National Association                 American Express National Bank
c/o Robertson, Anschutz & Schneid, P.L.   Bankruptcy Department                          c/o Becket and Lee LLP
6409 Congress Avenue, Suite 100           PO Box 5229                                    PO Box 3001
Boca Raton, FL 33487                      Cincinnati, Ohio 45201-5229                    Malvern PA 19355-0701


Bank of America, N.A.                     Wells Fargo Bank, N.A.                         Pac-Fung Home Textiles He Shan Co. Ltd.
P O Box 982284                            Wells Fargo Card Services                      Brown & Joseph, LLC c/o Don Leviton
El Paso, TX 79998-2238                    PO Box 10438, MAC F8235-02F                    PO Box 59838
                                          Des Moines, IA 50306-0438                      Schaumburg, IL 60159


LVNV Funding, LLC                         Portfolio Recovery Associates, LLC             Portfolio Recovery Associates, LLC
Resurgent Capital Services                c/o Care Credit                                PO Box 41067
PO Box 10587                              POB 41067                                      Norfolk, VA 23541
Greenville, SC 29603-0587                 Norfolk VA 23541


Saharoj Textiles Co., Tt                  Saharoj Textile (1991) Co. LTD                 ODR Bkcy
145,147 Soi Sukhmvit 62/1, Sukhumvit Rd   144, 144/1-6 M.8                               955 Center St NE
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Thailand                                  Uthjedi Samutprakarn 10290


PRA Receivables Management LLC            PRA Receivables Management, LLC               Michael & Noke Davison
POB 41067                                 PO Box 41021                                  1355 SW 84th Ave.
Norfolk, VA 23541                         Norfolk, VA 23541                             Portland OR 97225




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